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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


    GUN OWNERS OF AMERICA, INC., et al.,

                 Plaintiffs,
                                                            Civil Action No. 24-1301 (ACR)
          v.

    FEDERAL BUREAU OF INVESTIGATION,

                 Defendant.



                                    JOINT STATUS REPORT

         Pursuant to the Court’s August 22, 2024 Minute Order, the parties provide the following

Joint Status Report in this Freedom of Information Act (“FOIA”) matter:

         1.     Since the last Joint Status Report, Defendant has completed its search for records,

identifying approximately 15,200 pages of potentially responsive records. On October 18, 2024,

the FBI made its first interim production, which consisted of 500 pages reviewed, of which 53

pages were released. On November 20, 2024, the FBI made its second interim production, which

consisted of 500 pages reviewed, of which 36 pages were released. Pursuant to its standard process,

the FBI will review 500 pages per month, 1 and will provide monthly interim productions until

processing is complete.

         2.     The parties propose that they file a further joint status report in approximately sixty

days, or by January 27, 2025, and every sixty days thereafter, to update the Court on the status of

Defendant’s processing of Plaintiffs’ request. A proposed order is submitted herewith.




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         Any pages that are determined be out of scope or duplicative will not be processed.
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Dated: November 26, 2024             Respectfully submitted,
       Washington, DC
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                                     United States Attorney

                                     BRIAN P. HUDAK
                                     Chief, Civil Division

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                              UNITED STATES DISTRICT COURT
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 GUN OWNERS OF AMERICA, INC., et al.,

                Plaintiffs,
                                                        Civil Action No. 24-1301 (ACR)
        v.

 FEDERAL BUREAU OF INVESTIGATION,

                Defendant.



                                     PROPOSED ORDER

       Upon consideration of the parties’ November 26, 2024 Joint Status Report, it is hereby

       ORDERED that the parties shall file a further Joint Status Report on or before January 27,

2025, and every sixty days thereafter, to apprise the Court of the progress of Defendant’s

processing of Plaintiffs’ FOIA request.

SO ORDERED.

Date: ____________________                          _______________________________

                                                           United States District Judge




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